  Case 3:18-bk-33725-SDR             Doc 133 Filed 01/28/20 Entered 01/28/20 10:25:44           Desc
                                      Main Document    Page 1 of 2

The debtor's objections are overruled for the reasons stated at the January 27, 2020 hearing.




SO ORDERED.
SIGNED this 27th day of January, 2020

THIS ORDER HAS BEEN ENTERED ON THE DOCKET.
PLEASE SEE DOCKET FOR ENTRY DATE.




          ________________________________________________________________
Case 3:18-bk-33725-SDR   Doc 133 Filed 01/28/20 Entered 01/28/20 10:25:44   Desc
                          Main Document    Page 2 of 2
